Case 2:16-cv-06576-KM-MAH Document 266-12 Filed 10/10/22 Page 1 of 10 PageID: 11878




             Exhibit 12
    Case 2:16-cv-06576-KM-MAH Document 266-12 Filed 10/10/22 Page 2 of 10 PageID: 11879


Emil^Santaria

From:                               Wilson Zuluaga <wilsonz@latinfoodus.com>
Sent                                Thursday, December 07,2017 6:01 PM
To:                                 'Mark J. Ingber'
Cc                                  'Enrkily Santana'
Subject                             FW: Zenu Chorizo
Attachments:                        Chorizo_colombiano_w^.jpg; Chorizo_colombiano_yp.jpg; Chorizo.con
                                    ternera_blur_yp.jpg; Salchichon_Ceivecero_rT»id_yp.jpg;
                                    Salchlchon_Cervecero_side_yp.jpg; Chorizo_con_ternera_w_yp.jpg;
                                    Chorizo_conternera_blu_yp.jpg




From: Jaline Isidor [mailto:jalinei@cibaome3t.com]
Sent: Tuesday, December 5,2017 5:26 PM
To: Wilson Zuluaga <WilsonZ@latinfoodus.com>
Subject: FW: Zenu Chorizo



Jaline G. Isidor | Marketing
Cibao Meat Products |
630 Saint Ann's Ave., Bronx, NY 10455
T: 718-993-5072 | F: 718-993-5638
CibaoMeat.com | JalinelfScibaomeat.com

From: Jaline Isidor <ialinei(S)cibaomeat.com>
Date: Friday, October 18,2013 at 3:21 PM
To: Wilson Zuluaga <WilsonZ@latinfoodus.com>
Cc: Julio Isidor <iisidorg)cibaomeat.com>
Subject: Zenu Chorizo

Good afternoon Wilson,

Attached you will find a few different versions of the Chroizo label that I photographed for you.
The one missing is the Mexican product, l have to reshoot it this weekend. I will have it for you if not Monday then Tuesday
the latest.

Also is the revised version of the Salchichon Cervecero.
USDA does not recognize Salchichon as a label only Salami so that is why I changed it from Salchichon to Salami.

Please let me know what corrections you would like for me to make.
Also let me know if you are content with the images for the Chorizo's so far. I tried to mimic them as close as possible.


Jaline G. Isidor | Marketing Assistant
Cibao Meat Products |                    //r                                                                      EXMBfT
630 Saint Ann's Ave., Bronx, NY 10455
T: 718-993-5072 | F: 718-993-5638
                                                                                                                        /ii/n
                                                                1                                            LATIN000276
         ATTORNEYS’ EYES ONLV-Sl BJE( T TO DISC OVERY C ONUDENTIAI.IT^ ORDER
  Case 2:16-cv-06576-KM-MAH Document 266-12 Filed 10/10/22 Page 3 of 10 PageID: 11880

Jalinel@ctbaomeatcom



 CnBAOMKAT
  PB0DUCT8




                                                      2
      ATTORNEYS' E\ ES ONLY-SUBJECT TO DISCOVERS' CONFIDENTlALIT\ ORDER   LATIN000277
            Case 2:16-cv-06576-KM-MAH Document 266-12 Filed 10/10/22 Page 4 of 10 PageID: 11881




      a
      If)               U.S.
      a.
      O'           if'iSPECTED
                'and PASseo a*
4     c         b|l’AMTM(-NTOF

                 AonicuauPE
s     s.
      O’
                   ;ST. 4371

      *<


'ji
O
y.


■y



H

3
y


;e
O
y

c

>




       (D
       a                                                                          G3
       c
      T3
y      o                                                      SAFE HANDUNG MSTRUCnONS
e      Q.
       C
                                                                                                  ■S
                        illitig               -WL. %
       O              '’"V                                         I   oil      tcai              a
       <A
oe
       O                                     ’HBBSj
       O                                                                                          (0
       3        fir                                                                               o
                                            www.zenu.us.com
            Case 2:16-cv-06576-KM-MAH Document 266-12 Filed 10/10/22 Page 5 of 10 PageID: 11882




      o
      (/}             U.S.
      a.           INSPECTED
      O'
>               'and passed 8v
      c         L't •■ii'll'.!: O
-i
O
X
      a          AOniCULTURE
                   :ST. 437ft
v:    cr
      7T  Koep Refri9entKl or
      ISJ Freeze By Exp. Date
PI    o
      3
      c m
PI
it.
-y.
r
it
CO                                                                                                CO
                                                                                                  U3


3
                                                                    Chorizo                       d>
                                                                                                  a*
                                                                                                  rr

y:
                                                                                                  ♦
9S                                                                                                h-
                                                                                                  CD
                                                                                                  r-
o
y
                                                                                                  >■
o
✓                                                                                                 c
                                                                                                  o
H
                                                                                                  E
                                                                                                  CO
X
e
PI
X
                                                                                                  u
                                                                                                  c
                                                                                                  CO

                                                                                                  (0
                                                                                                  a
                                                                                                   3
                                                                                                  T3
                                                                                                   O
                                                                                                  Q.
                                                                                                   3
                                                                                                   C
                                                                                                   O
                                                                                                  Nl
                                                                                                   ><.
                                                                                                  JD
✓
s
•j
                                                                                                  3
                                                                                                  J3
                                                                                                  <0
                                                                                                  Q
                                            www.zenu.us.com
      Case 2:16-cv-06576-KM-MAH Document 266-12 Filed 10/10/22 Page 6 of 10 PageID: 11883




>
o
7S
7.
nr
'y.


y.
y

y.

2

H
o
c
y.




X



y.


y




X
c
X




y
e
N*
            Case 2:16-cv-06576-KM-MAH Document 266-12 Filed 10/10/22 Page 7 of 10 PageID: 11884




                                                                                                                  4


      O
      M              u.s.
>
      3.
      O’            t^*5PeCT^D
      C                 PASSEDB>
                • • -'AmueNT (y
O
X
y.
      I           AOTicyiTUBE
                      :ST. 4376,

      *<
       M                           •nr
rr     o
       3    C5?CiS
      c                  .•j
y.

•y.



2


<s
•y,
                                                                                         Chonzo             r>-
                                                                                                            o>
                                                                                                            O)




X

rs
O
y.


m
y
H



X

X




                                         lmpor1aniraOCINARHASTA\ •      F'ANT ES'DE COKauMiM

      3                                                                 SEW
      o                                                    m           H31E     BE

      N
      <1»
      3     aZB013BZiia 63IC0(iS                                          1^     BEEniEE [CONCENTRADtf GS
               ;SQYA^SALyF.OSFATOS:DE;SQDtoTs^'OR^AHUWADO;NATURAijERifORBATOr^;s6DlOyNrrRrro:DE'SOD»0]
>     T3
       O
       a
      c
      o
oe    (A
                                                                                                            X)
      O
      O
      3                                                                                                     Q
                                                       www.zenu.us.com
           Case 2:16-cv-06576-KM-MAH Document 266-12 Filed 10/10/22 Page 8 of 10 PageID: 11885




     <o
     (D r




     <D     INGREDIENTES: _    iDEyCEHDO. ESPECIASiY CONDIMEffTOS. AGUA, VINAGHE, PflOTBNA^CONCErnBADA
      c              SAUfroSFATO’DE^SODlO. SABORA'HUMAGfiNATURAL. ERfrORBATO DE SOMO. NITHtTO"DE SODIO;^
>    *o
-y    o                                                                         SAIf HAWUNQ M9TRUCTI0NS
s
      Q.
                                                                                                                     *o
                                                                                                                      Q>
     C                                                            BMiUJirTHiHniwi—MMatBOBWwwiiiwt’MKwwwKWuawmw—Ki*
                                                                                                                     H
ae
     S                                                                                 latwonwi        lOII
     (A                                                                                                              A
     O
     o                                                   "OS^
                                                                                                                     M
     3                                                                                                               o
                           in.
                                                        www.zenu.us.com
      Case 2:16-cv-06576-KM-MAH Document 266-12 Filed 10/10/22 Page 9 of 10 PageID: 11886




                                                                                            \




>d
o
y
if)

PI
if
o
■y
r

c/:
s
1^

H
o
•■f
o
X

d
y

sP!
y



H

;c
c
;s




y
s
o
K>
36
           Case 2:16-cv-06576-KM-MAH Document 266-12 Filed 10/10/22 Page 10 of 10 PageID: 11887




                                                                                                          t


      o                                                                                             E
      M              u.s.                                                                           o
      3.          JNSPECTED                                                                         O
      w          ANO <=MSSED9>                                                                      W
      C
                hi           OF                                                                     U
      s.          *cwcuLTijnE                                                                       3
                                                                                                    T3
ae                  ;ST. 4376.
y     O'                                                                                            O
                  RefrlQerated
                                                                                                    Q.
                                                                                                    3
'y
      N1     RE3D URSJiib GQ2D                                                                      C
      <D
      3     (237CSS®^DES)                                                                           0)
                                                                                                    N
r*5   C
V)
o
y
      *o        msaasm                                                                              o
                                                                                                    c
c/j
S                                                                                                   O

H
H
C
(f.
                                                                                Chorizo             r«-
                                                                                                    o>
                                                                                                    o>
                                                                                                    TT



c
;o

*n

e
PI
y:



X

X




      so

      o
                            [CCTDO.USPEClAWLCONDIMEMTQgAGUA^VINAGR^               [CONCEKTHADg 03
      Sc EBBESDiB        03
           SOYAWSAJhOSPATOS.DEtSOOIO!SABOR>HUMAtX);NATURAgERfTORB*TO.
                                                                           L*
                                                                     03^SODtO?iCDuGiniXiSeiSBe
>     TD
y      R
      c
      r>
K»
      0>
      n
      O                                                                                             CO
      3                                                                                             o
                                                  www.zenu.us.com
